

People v Collins (2023 NY Slip Op 04946)





People v Collins


2023 NY Slip Op 04946


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Kern, J.P., Moulton, Mendez, Higgitt, O'Neill Levy, JJ. 


Ind. No. 3587/14 Appeal No. 673 Case No. 2017-1061 

[*1]The People of the State of New York, Respondent,
vSteffan Collins, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, New York County (James M. Burke, J.), rendered August 17, 2016, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance in the third degree, and sentencing him to a term of 1½ years, followed by 1 year of postrelease supervision, to be served concurrently with a 1 year term for violation of probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Defendant was convicted before the enactment of CPL 420.35(2—a), which permits the waiver of surcharges and fees for persons who, like defendant, were less than 21 years old at the time of the subject crime. However, based on our own interest of
justice powers, we vacate the surcharge and fees imposed on defendant at sentencing
(see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People consent as a matter of prosecutorial discretion.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








